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      EXHIBIT A
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            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE:                             )     Case No. 08-13141(KJC)
                                   )
                                   )
TRIBUNE COMPANY                    )     Chapter 11
                                   )
                                   )     Courtroom 5
                                   )     824 Market Street
           Debtors.                )     Wilmington, Delaware
                                   )
                                   )     June 28, 2011
                                   )     10:00 a.m.

                   TRANSCRIPT OF PROCEEDINGS
          BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                UNITED STATES BANKRUPTCY JUDGE

APPEARANCES:

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                                                                             20

 1   timing issue so that my case can be dismissed.              That's all,

 2   Your Honor.

 3                 THE COURT:    I understand.     Thank you.

 4                 MR. KORPUS:   Your Honor, let me make this easy.

 5   We will file our dismissal [indiscernible].

 6                 THE COURT:    Okay.   Is there any other party who

 7   responded or objected wish to be heard?

 8                 MR. DOUGHERTY:   Your Honor, this is George

 9   Dougherty on behalf of certain officers and directors.             Can

10   you hear me okay?

11                 THE COURT:    Oh, clear as a bell.

12                 MR. DOUGHERTY:   Okay, excellent.         We did work

13   some things out last night with the movants and, you know,

14   we have raised this issue concerning the entire disclaimer

15   process and we put that into the response, but we do

16   understand that you said that was something that you wanted

17   to consider as part of the plan confirmation process.              So

18   it's kind of a belt-and-suspenders kind of thing, but

19   subject to that, we're okay with the order as modified last

20   night.

21                 THE COURT:    All right, thank you.        Does anyone

22   else wish to be heard?

23   (No audible response.)

24                 THE COURT:    Okay.   Now the comment -- well let me

25   see the proposed form of order, if I may.
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                                                                          21

 1                MR. KORPUS:   Yes, may I approach, Your Honor?

 2                THE COURT:    Thank you.    Okay.      Well, first of

 3   all, I think the recital has to say that the objections were

 4   resolved and not overruled.

 5                MR. KORPUS:   Yes, Your Honor.

 6                THE COURT:    Okay.   With respect to the -- with

 7   respect to Paragraph 2, I'd prefer it to read, just

 8   beginning with the operative part, on the fifth line down

 9   and just say that the SLCFC claims order is hereby

10   supplemented because this is more than what I would consider

11   to be just a clarification.

12                MR. KORPUS:   We will make that change, Your

13   Honor.

14                THE COURT:    And I'm okay with the rest of the

15   form of order, but here's what's happened.            I don't know

16   what consequences the parties had anticipated as a result of

17   the relief that was requested and that I granted over

18   objection.   Perhaps this is the request for "clarification"

19   which is really supplemental relief, as far as I'm

20   concerned, is a consequence of things that the parties

21   didn't intend.   But my general overall view is when somebody

22   tells me they wanted to be rid of the Bankruptcy Court and I

23   give them the exit, I generally like to consider that a one-

24   way door.    I am not interested in having the parties return

25   on a periodic basis to figure out how to solve the next
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                                                                              22

 1   problem.

 2                And that's not to be critical of the relief

 3   that's been requested here.        I think it's warranted under

 4   the circumstances from a management of litigation standpoint

 5   and certainly makes sense and I'm content to grant that

 6   relief, especially with resolution of the objections.

 7                I see as the potentially most awkward part of

 8   what may be yet to come and that is any particular Court or

 9   Courts viewing either of my orders as in pitching on their

10   own prerogatives.     And I will tell you, it's not my

11   intention to interfere with the prerogative of any other

12   Court, State or Federal, with respect to conduct of

13   litigation before it.      I mean, I've said what I've said, and

14   I -- beyond that, in my view, Courts are free to take their

15   own conduct and manage their own dockets.            Okay.    I got that

16   off my chest.

17                MR. KORPUS:    Your Honor, I appreciate you sharing

18   that with us.   We understand.      That is why we asked for the

19   relief in Paragraph 3, to avoid having to come back to you

20   on an ad hoc basis.    We don't want to bother you.               I'm sure

21   you love seeing us, but we would rather spare you that

22   pleasure.

23                THE COURT:    Well it's always wonderful when you

24   visit.

25   (Laughter)
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                                                                               23

 1              THE COURT:     Okay.

 2              MR. KORPUS:     Thank you, Your Honor.

 3              THE COURT:     With the revisions submitted under

 4   certification, I'll act promptly on the relief.

 5              MR. KORPUS:     Thank you, Your Honor.

 6              THE COURT:     Okay.    Is there anything further for

 7   today?

 8              MR. SOTTILE:     Your Honor, James Sottile of

 9   Zuckerman Spaeder, special counsel to the official committee

10   of unsecured creditors.

11              As the Court will recall at the end of the

12   arguments yesterday, I asked the Court whether we could

13   report briefly on the status of issues concerning the

14   agreement by the plan proponents relating to potential use

15   of any findings and conclusion that this Court might make in

16   other actions.   And if I might take one minute just to

17   update the Court, I would be grateful.

18              THE COURT:     Go ahead.

19              MR. SOTTILE:     Your Honor, as I indicated

20   yesterday, I believe that counsel for all of the parties and

21   interests other than Mr. Zell have reached agreement on a

22   form of order as to the use of findings and conclusions in

23   other matters.   We are continuing discussions with Mr.

24   Zell's counsel in an effort to resolve that issue.                And I

25   believe that we would benefit from a little bit of time to
